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May 30, 2024                                                            Writer’s Direct Contact
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VIA ECF

The Honorable Robert M. Illman
United States District Court for the Northern District of California
Eureka-McKinleyville Courthouse
3140 Boeing Avenue
McKinleyville, CA 95519

Re:    In re OpenAI ChatGPT Litigation, Master File No. 23-cv-3223-AMO

Dear Judge Illman:

Defendants write concerning the Parties’ forthcoming letter brief Plaintiffs brought to the
Court’s attention last week regarding entry of an ESI protocol in this matter. (See ECF
No. 141 (requesting leave to file three exhibits in support of Plaintiffs’ position statement).)
Defendants request the Court’s approval to file the following documents in support of their
position statement:

       1.      Declaration of Christopher A. Acosta, Director of eDiscovery Resources at
               Morrison & Foerster LLP, detailing the burden involved in implementing
               Plaintiffs’ proposed ESI protocol; and

       2.      Declaration of Allyson Bennett, providing a brief history of the Parties’
               negotiation on an ESI protocol in this matter and attaching Defendants’
               proposed ESI order as well as other relevant exhibits.

Defendants believe the above exhibits will aid the Court’s review of the Parties’ positions.
The Court previously granted Plaintiffs’ request to submit exhibits in support of their portion
of the joint letter on May 22. (See ECF No. 142.)
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The Honorable Robert M. Illman
May 30, 2024
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Sincerely,

/s/ Allyson R. Bennett
Allyson R. Bennett
Partner
